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                                       lIMTi:D STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                           www.flsb.Liscourls.uov

                                                      CHAPTER 13 PL.AN niidividual Adjustment of Dcbts^
                                □                                          Original Plan

                                ® FIRST                                    Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                                □                                          Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

      DEBTOR: Jesus Diaz                                         JOINT DEBTOR:                                             CASE NO.: 24-20201-RAM

      SS#: xxx-xx- S727                                           SSik xxx-xx-

      I.            NOTICES

                   To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                       modilled plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of tiling
                                       the chapter 13 petition or within 30 days of entr>’ of the order converting the case to chapter 13.
                   To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated.

                   To All Parlies:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                        on each line listed below in this section to state whether the plan includes any of the following:

           The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                            I     I   Included        ,[W]   Not included
           partial payment or no payment at all to the secured creditor
           Avoidance of a judicial lien or iionpossessory, nonpurchase-mone y security interest, set
           out in Section III
                                                                                                                            I     I   Included        @ Not included
           Nonstandard provisions, set out in Section IX                                                                    [■]       Included        I I    Not included
     II.           PLAN PAYMENTS. LENGTH OF PLAN AND DEBTQRfSV ATTORNEY'S FEE


                   A.      MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee’s
                          fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                          amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                                $1,287.60           for months        to    60         ;

                   B.     DEBTQRfSV ATTORNEY'S FEE;                                            □ NONE        n FRO BONO
               ■fota! Fees:             $5,200.00           Total Paid:                    $2,000.00           Balance Due:               $3,200.00

               Payable             $1,158.84        /month (Months    1     to     2       )

               Payable              $882.31         /month (Months    3     to     3       )
               Allowed fees under LR 2016-1(B)(2) are itemized below’:
               Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

               Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
     Hi.           TREATMENT OF SECURED CLAIMS                       □ NONE
                   A.     SECURED CLAIMS:           [D NONE
                   B. VALll.ATION OF COLLATERAL:                   [f] NONE
                   C. LIEN AVOIDANCE g] NONE
                   D.     SURRENDER OF COLLATERAL:                   ® NONE
                   E. DIRECT PAYMENTS                □   NONE
                   Secured claims filed by any creditor granted slay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                        The debtor(s) elect to make payments directly to each secured creditor listed below'. The debtor(s) request that upon
                        confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                        codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                                Name of Creditor              Last 4 Digits of Account No.             Description ofCollateral (Address. Vehicle, etc.)


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                                                                               Dcblor(s); Jesus Diaz                             Case number: 24-2Q201-RAM

                            Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.l
                            JPMorgan Chase Bank, N.A. 0108                                        2022 Infiniti QX60
                        '■ fPOC/^21
                            Nationstar Mortgage LLC        8016                                    10905 W 35th Way, Hialeah, FL 33018
                        2- [POCj'^31
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                  (H NONE
V.          TREATMENT OF UNSECURED NONPRIORITV CREDITORS                                               □ NONE
                 A. Pay               $0.00      /month (Months          1    to 2    )

                      Pay         S276.53        /month (Months       3       to 3    )

                      Pay        $1,158.84       /month (Months       4       to 60 )

                        Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

                 B. @ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                 C. SEPARATELY CLASSIFIED:                  @ NONE
VI.         STUDENT LOAN PROGRAM                      g NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                            @ NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:

                     g Debtor(s) will not provide tax returns unless requested by any interested parly pursuant to 11 U.S.C. § 521.
IX.        NON-STANDARD PLAN PROVISIONS □ NONE
           g Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                   Form or deviating from it. Nonstandard provisions set out elsewhere in this plan arc void.


                   Confirmation of the plan shall not bar Debtor’s counsel from filing an Application for Compensation for any work performed
                   before confirmation.

           I I     Mortgage Modification Mediation


                          PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     I decl^e-that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                 f                              Debtor         (z ly^ozi
                                                                     'ate
                                                                                                                          Joint Debtor
                                                                                                                                               Date
 Jesu       ■laz




 /s/ Jose A. Blanco, Esq.
                                                                  Date
      Attorney with permission to sign on
       Debtor(s)’ behalf who certifies that
       the contents of the plan have been
         reviewed and ap|)roved by the
                        Debtor(s).*

     By filing this document, the Attorney for Dcbtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
     order of the provisions in this Chapter 13 plan arc identical to those contained in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions other than those set out in paragraph IX.




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                                                                Debtor(s): Jesus Diaz                            Case number: 24-20201-RAM




'This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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